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    IT IS ORDERED as set forth below:



    Date: October 16, 2020
                                                              _____________________________________
                                                                          James R. Sacca
                                                                    U.S. Bankruptcy Court Judge

    _______________________________________________________________



                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                :        CHAPTER 7
                                                      :
SHARON MARIE WINSTON,                                 :        CASE NO. 15-66160-JRS
                                                      :
           Debtor.                                    :
                                                      :

     ORDER GRANTING TRUSTEE’S MOTION TO PAY EXCESS LIFE INSURANCE
                        PROCEEDS TO DEBTOR

           On September 21, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Sharon Marie Winston (“Ms. Winston”), filed

Trustee’s Motion to Pay Excess Life Insurance Proceeds to Debtor [Doc. No. 49] (the “Motion”)

seeking an order authorizing Trustee to pay Ms. Winston $1,365.75 in excess cash value of a

certain Life Insurance Policy1 over and above what the Bankruptcy Estate was entitled to under

the terms of a Settlement Agreement previously approved by order of the Court.



1
           Capitalized terms not defined in this Order shall have the meanings ascribed to them in the Motion [Doc.
No. 49].
                                                          1
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         On September 23, 2020, Trustee filed Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 50] (the “Notice”) regarding the Motion, in accordance with General Order

No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in

interest on September 23, 2020. [Doc. No. 51].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: Trustee is authorized to pay Ms. Winston

$1,365.75 in excess funds that Trustee received from the cash value of the Life Insurance Policy.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
    michael.bargar@agg.com
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
Telephone: (404) 873-7030




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Identification of parties to be served:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305

Sharon Marie Winston
1117 Berryhilll Drive
Lithonia, GA 30058

Lauren A. Drayton
The Semrad Law Firm, LLC
303 Perimeter Center North, #201
Atlanta, GA 30346

Michael J. Bargar
Arnall Golden Gregory LLP
171 17th Street, NW, Suite 2100
Atlanta, GA 30363




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